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            1    motion for leave to amend, each Defendant shall be required to respond to Mr. Shapiro’s
            2    5AC on or before 21 calendar days from the filing of the 5AC, and each Defendant will
            3    further have the right to respond to and challenge the sufficiency of the allegations in
            4    the 5AC by a motion pursuant to Fed. R. Civ. P. 12 or any other rule or applicable law.
            5    In the event that any Defendant files a motion to dismiss any aspect of the 5AC, the
            6    deadline for that Defendant to answer Mr. Shapiro’s 5AC will be 21 days after the
            7    Court’s ruling on all Defendants’ motions to dismiss part or all of the 5AC.
            8          IT IS SO ORDERED.
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                 Dated: October 13, 2021
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                                                       Honorable Consuelo B. Marshall
           13                                          United States District Judge
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Gibson, Dunn &                         ORDER REGARDING DEFENDANT’S RESPONSE TO
Crutcher LLP
                                         PLAINTIFF’S THIRD AMENDED COMPLAINT
                                            CASE NO. 2:19-CV-08972-CBM-FFM(X)
